Case 17-11893-BFK         Doc 70   Filed 10/11/18 Entered 10/11/18 16:46:04             Desc Main
                                   Document     Page 1 of 1


                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION
__________________________________________
                                           )
IN RE:                                    )
                                          )
CASSANDRA L. JOHNSON                      )  Case No. 17-11893-BFK
                                           ) Chapter 7
                                           )
       Debtor                              )
__________________________________________)

                    REPORT OF DEPOSIT OF UNCLAIMED FUNDS

       The Trustee submits a check payable to “Clerk, United States Bankruptcy Court” in the

amount of $63,649.12, representing unclaimed funds to be deposited by the Clerk of Court into

the Treasury of the United States. Said funds are subject to withdrawal as provided by 28 U.S.C.

§ 2042 and shall not escheat under any state law. The unclaimed funds represent one-half of the

proceeds of the sale of the property located at 3908 Woodley Drive, Alexandria, Virginia 22309,

which are payable to co-owner Olivier Javaudin. These proceeds are being paid to the Court

pursuant to the Order Granting Trustee’s Motion to Approve Sale of Real Property Located at

3908 Woodley Drive, Alexandria, Virginia 22309 (Docket No. 67), because Mr. Javaudin cannot

be located.

                                            Respectfully submitted,
                                            THE MEIBURGER LAW FIRM, P.C.

Dated: October 11, 2018                     By: /s/ Janet M. Meiburger
                                                     Janet M. Meiburger, Esq. (VSB No. 31842)
                                                     The Meiburger Law Firm, P.C.
                                                     1493 Chain Bridge Road, Suite 201
                                                     McLean, Virginia 22101
                                                     (703) 556-7871
                                                     Counsel for Chapter 7 Trustee




____________________________________
Janet M. Meiburger, VA Bar No. 31842
The Meiburger Law Firm, P.C.
1493 Chain Bridge Road, Suite 201
McLean, VA 22101
(703) 556-7871
Counsel for Chapter 7 Trustee
